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Exhibit 3

RULE 11 LETTER DATED May 8, 2020

Exhibit 3

ATTORNEY
ROSS C. GOODMAN

May 8, 2020

Via Electronic Mail and U.S. First Class Mail

PATRICK KANG, ESQ.

Nevada Bar No. 010381

KANG & ASSOCIATES, PLLC
6480 West Spring Mountain Road
Las Vegas, Nevada 89146
pkang@acelawgroup.com,

Re: Nicole Greene v. Benjamin Wood, et al.
Case No. 2:20-cv-00818-JAD-NJK

Dear Mr. Kang:

This letter serves as a demand to dismiss the causes of action against Mr. Wood filed on
January 31, 2020 in violation of the 2-year statute of limitations and Federal Rules of Civil
Procedure 11. Under FRCP 11, a court may impose sanctions against a party or attorney when a
pleading, written motion, or other paper is (1) filed for an improper purpose; (2) includes claims
that are not warranted under existing law or a nonfrivolous argument for extension of the law; or
(3) contains factual allegations lacking in evidentiary support.

The central claim that gives rise to the causes of action against Mr. Wood is premised on a
“text” describing the parties meeting for dinner in “early” February in Las Vegas at the Downtown
Grand Hotel. See Compl. $§11-26. The reference to “early” February on the face of the complaint
is significant because it conveniently places the alleged misconduct just within the 2-year statute
of limitations. However, the text message describing the meeting in Las Vegas at the Grand was
sent on January 19-20, 2018. See Text Messages.

Specifically, Ms. Greene confirms in the early morning of January 20, 2020 that she is
going to Mr. Wood’s hotel room:

BW: K. I’m heading to room 1736. I’m gonna change. Meet me
there instead

Ey AOR TolU) dM moll] adaiecy dd 1-14 eee} Cortes -felelelui re anes) as) ; ae PAS et Ke Fao 02)

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Patrick Kang, Esq.
May 8, 2020
Page 2

NG: Okay, I’m on my way up
Notably, Ms. Greene acknowledges later that day that she had a “great time” as follows:

BW: Did you have fun last night? I wish Id had time to walk you to
your car...

NG: Aww, you’re so sweet. Yeah, I always have a great time
hanging out with you. I wish we could talk things further, but I'll
see what I can do about it.

There is no question that the Las Vegas meeting referenced in the Complaint occurred on
January 20, 2020 making the filing of the Complaint on January 31, 2020 outside of the 2-year
statute of limitations. The Frontier Airlines Flight Schedules confirm Mr. Wood did not return to
Las Vegas in January or February. Your allegations that Mr. Wood committed torts in early
February 2018 is baseless since neither party was in Las Vegas after mid-January 2018.

Please be advised that Mr. Wood will seek sanctions jointly from your firm and Ms. Greene
if the causes of action are not dismissed within 21 days. See Cervantes Orchards & Vineyards,
LLC y, Deere & Co., 731 F. App’x 570, 573 (9th Cir. 2017) (affirming district court’s imposition
of Rule 11 sanctions and noting that claims were frivolous where they “were plainly barred by
applicable statutes of limitations.”).

Instead, the texts in “early” February 2018 make clear that Ms. Greene consented to the
night in Las Vegas and wanted more than just friendship. On February 2, 2018, Plaintiff was
asking about the status of their relationship:

NG: Do you even want to be friends with me? Or are you just using
me until a better girl comes along?

BW: I’m at work right now, but where did that come from? Do you
feel used?

NG: Alright, well I’m not going to bother you at work. But yes, I
do

BW: Ok, then I sincerely apologize for making you feel that way. I
think what you are looking for is not the same as what I am looking
for.
Case 2:20-cv-00818-JAD-NJK Document 16-4 Filed 06/03/20 Page 4 of 30

Patrick Kang. Esq.
May 8, 2020

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Page 3

NG: What is it that you’re looking for?

BW: I am now interested in friendship or if you rather avoid me |
understand

NG: No, I don’t want to avoid you. I want friendship too
Indeed, Plaintiff on February 9, 2018 is asking Mr. Wood to meet again for sex:

NG: Hey, sorry I got upset the other day. I really hope you’re doing
well. How’s your sister and baby?

BW: No worries. My sister is great and very happy being a mom

NG: That’s good to hear. So I went to an OBGYN this morning
thinking I would get some answers, but he said everything seemed
normal. So now I’m really discouraged

BW: Normal is good

NG Yeah, that’s true. But I was hoping he could give me answers as
to why you and I keep having problems. Putting it bluntly, my
hymen is already torn. If you want to try again, maybe we can use
alcohol.

Notwithstanding access to these text messages, you falsely allege Mr. Wood was the one
who suggested “alcohol” and deceptively go further by claiming Mr. Wood was “callous” by
suggesting she needed to “break her hymen.” See Compl. §§21, 24. Your attribution to Mr. Wood
when in reality Ms. Greene said it is reckless and egregious conduct.

These text messages make clear that the mid-January night in Las Vegas was consensual
and did not result in an assault, battery, or intentional infliction of emotional distress. On February
11, 2018, Ms. Greene explains that she was disappointed when Mr. Wood told her “that night” in
Las Vegas that he only wanted to be friends:

Correct me if I’m wrong, but | feel like you’re upset because I
accused you of using me and I’m really, really sorry because I feel
like I ruined everything. | just want you to understand things from
my perspective. You were my first everything, so naturally, I
wanted more than just friendship. And when you told me that night
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Patrick Kang, Esq.
May 8, 2020
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in Las Vegas that you didn’t feel the same way, | was disappointed
and upset. But I’ve come to terms with how you feel and I really
want things to go back to normal because | don’t like the way things
are right now. I totally understand that you don’t want to be in a
relationship and I respect that. I just can’t handle you being upset
with me and not responding to me because you are so special to
me.

Many months later, Ms. Greene further reveals on June 28, 2018 that she was in “bad
place”, “felt ashamed” for “developing feelings” and that she felt like a failure “once you realized
we weren’t going to be able to have sex, you started distancing yourself from me.”

These texts demonstrate a consensual meeting in Las Vegas in mid-January 2018. Contrary
to the central allegation in the Complaint, there are NO texts that describe the parties met in Las
Vegas anytime thereafter and especially not in “early” February 2018. In addition, Mr. Wood was
not in Las Vegas in February 2018 as evidenced by his flight itinerary.

A review of Ms. Greene’s text messages establish that the substantive claims are not well-
grounded in fact and are frivolous. While not defined under Rule 11, the word “frivolous” is used
to “denote a filing that is both baseless and made without a reasonable and competent inquiry.”
Holgate v. Baldwin, 425 F.3d 671, 676 (9™ Cir. 2005). Ms. Greene knew full well that this
information was baseless. Specifically, she knew the meeting in Las Vegas occurred in mid-
January and not early February and that the relationship was consensual. However, you did not
review these text messages and failed in your Rule 11 obligation to conduct a reasonable and
competent inquiry into the factual allegations. In addition to being frivolous, the Complaint was
filed for the improper purpose of continuing to harass Mr. Wood after both Frontier Airlines and
the Metropolitan Police Department founds these allegations lacking.

The purpose of Rule 11 sanctions is to “reduce frivolous claims, defenses or motions, and
to deter costly meritless maneuvers.” Massengale v. Ray, 267 F.3d 1298, 1302 (11™ Cir. 2001);
see also Salman v. State of Nevada Comm’n on Judicial Discipline, 104 F. Supp. 2d 1262, 1270
(D. Nev. 2000) (“The main objective of Rule 11 is to deter baseless filings and curb litigation
abuses.”). Thus, Rule 11 further provides that “[iJ]f, after notice and a reasonable opportunity to
respond, the court determine that Rule 11(b) has been violated, the court may impose an
appropriate sanction on any attorney, law firm, or party that violated the rule or is responsible for
the violation.” FRCP 11.

Based on the foregoing, there is no dispute the Complaint was filed for an “improper
purpose” and that you failed to make a reasonable and competent inquiry into the facts before
filing the Complaint. Pursuant to FRCP 11(c)(2), this letter serves as notice that Mr. Wood will
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Patrick Kang. Esq.
May 8, 2020
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file a Motion to Dismiss and a Motion for Sanctions on June 1, 2020 if the Complaint is not
dismissed within 21 days.

Thank you for your attention to this matter. Feel free to contact me directly should you
have questions or concerns.
Yours truly,

Goodman Law Group, P.C

Ross C¥ Goodman, Esq.

RCG/tj
Enclosures as stated.
an

GOODMAN LAW GROUP
A Professional Corporation
520 S. Fourth St., 2" FL.
Las Vegas, Nevada 89101
(702) 383-5088

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Ross C. Goodman, Esq.

Nevada Bar No. 7722
GOODMAN LAW GROUP, P.C.
520 S. Fourth Street, Second Floor
Las Vegas, Nevada 89101
Telephone: (702) 383-5088
Facsimile: (702) 385-5088

Email: ross(@rosscgoodman.com

Attorney for Defendant
BENJAMIN WOOD

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

NICOLE GREENE, an individual,

piaincite Case No. 2:20-cv-008 1 8-JAD-NJK

DEFENDANT WOOD’S MOTION
FOR RULE 11 SANCTIONS

VS.

BENJAMIN WOOD, an individual; and
FRONTIER AIRLINES, INC., a Foreign
Corporation; DOES | through 20,
inclusive; ROE CORPORATIONS, |
through 20, inclusive;

Defendants.

Defendant BENJAMIN WOOD (“Defendant”), by and through undersigned counsel, files
this Motion for Rule |1 sanctions against Plaintiff NICOLE GREENE (“Plaintiff”) and her Firm.

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Page | of 9

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5 This motion is based upon the following memorandum of points and authorities, the
4 pleadings and papers on file, the exhibits, and any oral argument of counsel to be made at the time
4 of the hearing.
Dated this _ day of May 2020.
> Respectfully submitted,
6
GOODMAN LAW GROUP, P.C.
7
/s/ Ross C. Goodman, Esq.
8 ROSS C. GOODMAN, ESQ.
Nevada Bar No. 7722
9 520 S. Fourth Street, Second Floor
4 Las Vegas, Nevada 89101
Attorney for Defendant
I] BENJAMIN WOOD
12
13
14 MEMORANDUM OF POINTS AND AUTHORITIES
15 I.
16 INTRODUCTION
17 The parties met while working for Frontier Airlines and had a consensual overnight stay at

18 || the crew hotel in Las Vegas, Nevada on January 20, 2018. The next morning Plaintiff texts “Aww,
19 || you’re so sweet. Yeah, I always have a great time hanging out with you. I wish we could talk
20 || things further, but I°ll see what I can do about it.” The parties did not physically see each other
21 || after that night in Las Vegas in mid-January 2018. Plaintiff laments to Defendant “You were my
22 || first everything, so naturally, | wanted more than just friendship. And when you told me that night
23 || in Las Vegas that you didn’t feel the same way, I was disappointed and upset.”

24 The flight itinerary shows that Defendant did not fly back into Las Vegas after that night
25 || through February 2018 and the text messages in February proves that they were not with each
26 || other or in Las Vegas. Nonetheless, Plaintiff and counsel ignored these text messages and filed

27 || the Complaint on January 31, 2018 and misrepresented the date of the Las Vegas trip as “early”

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GOODMAN LAW GROUP
A Professional Corporation
520 S. Fourth St, 2*¢ FL
Las Vegas, Nevada 89101
(702) 383-5088

GOODMAN LAW GROUP
A Professional Corporation
§20 S. Fourth St, 2™ FL.
Las Vegas, Nevada 89101

(702) 383-5088

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February to avoid the two-year statute of limitations.

It is evident that this action was designed solely to harass, cause embarrassment and danger
to Defendant’s reputation. The Complaint is factually baseless, time-barred and filed for an
improper purpose warranting Rule 11 sanctions and attorney’s fees to remedy this abuse of the
legal system.

Il.
STATEMENT OF FACTS

Plaintiff filed this lawsuit alleging three causes of action against Defendant Benjamin
Wood for: (1) assault; (2) battery; and (3) intentional infliction of emotional distress (“ITED”).
Plaintiff alleges that the claims giving rise to the action resulted from an overnight stay at a hotel
in Las Vegas Nevada. See Compl. §§11-26. Plaintiff is a flight attendant and Defendant is a pilot
for Frontier Airlines. See Compl. §§10-11. They were both in Las Vegas on an “overnight stay”
at the Grand Hotel in “early” February. See Compl. §§11-12. Defendant went to Plaintiffs hotel
room. See Compl. §§16.

Contrary to these allegations, the text message describing the meeting in Las Vegas at the
Grand Hotel was sent on January 19-20, 2018 and not in “early” February. See Text Messages
attached as Exhibit 1. Plaintiff acknowledged that she a “great time” after leaving Defendant’s
hotel room:

BW: K. I’m heading to room 1736. I’m gonna change. Meet me
there instead

NG: Okay, I’m on my way up

BW: Did you have fun last night? I wish Id had time to walk you to
your car...

NG: Aww, you’re so sweet. Yeah, I always have a great time

hanging out with you. I wish we could talk things further, but I'll
see what I can do about it.

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See Exh. 1.
2 . 18 . .
Further, the flight itinerary shows that Defendant did not fly back into Las Vegas after that
3
mid-January night through February 2018. See Frontier Airlines Flight Itinerary attached as
5 Exhibit 2. and the text messages in February proves that they were not with each other or in Las

6 || Vegas. It is no surprise that the text messages in “early” February also confirm the parties were

7 || notin Las Vegas. On February 2, 2018, the parties have this exchange:

8 NG: “Do you even want to be friends with me? Or are you just using
9 me until a better girl comes along?
10 BW: I’m at work right now, but where did that come from? Do you
feel used?
Il
NG: Alright, well ’m not going to bother you at work. But yes, I
12 do
13 : :
BW: Ok, then I sincerely apologize for making you feel that way. I
14 think what you are looking for is not the same as what I am looking
for.
15
16 NG: What is it that you’re looking for?
7 BW: I am now interested in friendship or if you rather avoid me I
understand
18
NG: No, I don’t want to avoid you. I want friendship too.
19
See Exh. |.
20 . . .
In stark contrast to non-consensual contact, Plaintiff was seeking to be more than just
21
friends. In addition, Plaintiff one week later is proposing sex as reflected in the following text
22
message from February 9, 2018:
23
oA NG: Hey, sorry I got upset the other day. I really hope you’re doing
well. How’s your sister and baby?
25
BW: No worries. My sister is great and very happy being a mom
26
27

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Page 4 of 9

GOODMAN LAW GROUP
A Professional Corporation
520 S. Fourth St, 2"4 FL
Las Vegas, Nevada 89101
(702) 383-5088

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GOODMAN LAW GROUP
A Professional Corporation
520 S. Fourth St, 2 Fl.
Las Vegas, Nevada 89101
(702) 383-5088

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NG: That’s good to hear. So I went to an OBGYN this morning
thinking I would get some answers, but he said everything seemed
normal. So now I’m really discouraged

BW: Normal is good

NG Yeah, that’s true. But I was hoping he could give me answers as
to why you and I keep having problems. Putting it bluntly, my
hymen is already torn, If you want to try again, maybe we can use
alcohol.

Despite Plaintiff referencing “hymen” and “alcohol”, Plaintiff falsely alleges that
Defendant suggested that Defendant drink alcohol and “callously” responded that he needed to
“break her hymen.” See Compl. §§21, 24.

On February 11, 2018, Plaintiff laments her relationship with Defendant is only as friends
and nothing more involved:

Correct me if I’m wrong, but I feel like you’re upset because I
accused you of using me and I’m really, really sorry because I feel
like I ruined everything. | just want you to understand things from
my perspective. You were my first everything, so naturally, I
wanted more than just friendship. And when you told me that night
in Las Vegas that you didn’t feel the same way, I was disappointed
and upset. But I’ve come to terms with how you feel and I really
want things to go back to normal because | don’t like the way things
are right now. J totally understand that you don’t want to be in a
relationship and I respect that. I just can’t handle you being upset
with me and not responding to me because you are so special to
me.

Many months later, Plaintiff further reveals on June 28, 2018 that she was in “bad place”,
“felt ashamed” for “developing feelings” and that she felt like a failure “once you realized we
weren’t going to be able to have sex, you started distancing yourself from me.”

Because the Complaint was time-barred and the substantive allegations false, Defendant

served Plaintiff's counsel with a Rule 11 letter on May 8, 2020 demanding dismissal of the

Complaint. Nonetheless, Plaintiff and counsel refused to dismiss the Complaint.

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A Professional Corporation
520 S. Fourth St, 2" Fl
Las Vegas, Nevada 89101

(702) 383-5088

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Il.
ARGUMENT

A. Legal Standard
Rule 11(b) provides, in relevant part:
By presenting to the court a pleading, written motion, or other paper
— whether by signing, filing, submitting, or later advocating it — an
attorney or unrepresented party certifies that to the best of the
person’s knowledge, information, and belief, formed after an
inquiry reasonable under the circumstances: (1) it is not being
presented for any improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2)
the claims, defenses, and other legal contentions are warranted by
existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law or for establishing new law;
[and] (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after
a reasonable opportunity for further investigation or discovery]. ]
Fed. R. Civ. P. 11(b)(1)-(3).
“Rule 11 is intended to deter baseless filings in district court and imposes a duty of ‘reasonable
inquiry’ so that anything filed with the court is well grounded in fact, legally tenable, and not
interposed for any improper purpose.” Jslamic Shura Council of S. Cal. v. Federal Bureau of
Investigation, 757 F.3d 870, 872 (9th Cir. 2014) (per curiam) (internal quotation marks omitted).
“One of the fundamental purposes of Rule 11 is to reduce frivolous claims, defenses or motions
and to deter costly meritless maneuvers, [thereby] avoid[ing] delay and unnecessary expense in
litigation.” Christian v. Mattel, Inc., 286 F.3d 1118, 1127 (9th Cir. 2002) (internal quotation marks
omitted; first alteration added).
“Among other grounds, a district court may impose Rule |1 sanctions if a paper filed with
the court is for an improper purpose, or if it is frivolous.” G.C. & KB. Invs., Inc. v. Wilson, 326

F.3d 1096, 1109 (9th Cir. 2003). “Absent exceptional circumstances, a law firm must be held

jointly responsible for a violation committed by its partner, associate, or employee.” Fed. R. Civ.
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GOODMAN LAW GROUP
A Professional Corporation
$20 S. Fourth St., 2"! Fl.
Las Vegas, Nevada 89101

(702) 383-5088

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P. 11(c)(1). When “a complaint is the primary focus of Rule 11 proceedings, a district court must
conduct a two-prong inquiry to determine (1) whether the complaint is legally or factually baseless
from an objective perspective, and (2) if the attorney has conducted a reasonable and competent
inquiry before signing and filing it.” Holgate v. Baldwin, 425 F.3d 671, 676 (9th Cir. 2005)
(internal quotation marks omitted). “As shorthand for this test, [courts] use the word ‘frivolous’ to
denote a filing that is both baseless and made without a reasonable and competent inquiry.” Id.
(internal quotation marks and emphasis omitted). “[T]he mere existence of one non-frivolous claim
in a complaint does not immunize it from Rule 11 sanctions.” /d. at 677 (internal quotation marks
omitted).

B. All of Plaintiff’s Claims are Time-Barred

The claim for assault, battery and intentional infliction of emotional distress (“IIED”) is
barred by the two-year statute of limitations.' See NRS 11.190(4)(c). Specifically, NRS
11.190(4)(c) applies to “an action for libel, slander, assault, battery, false imprisonment or
seduction and NRS 11.190(4)(d) applies to “an action to recover damages for injuries to a person
or for the death of a person caused by the wrongful act or neglect of another.”

Further, a statute-of-limitations defense, if “apparent from the face of the complaint,” may
properly be raised in a motion to dismiss. Conerly v. Westinghouse Elec. Corp., 623 F.2d 117,
119 (9th Cir.1980). “We accept as true all well-pleaded allegations of material fact” but are not
“required to accept as true allegations that contradict exhibits attached to the Complaint or matters
properly subject to judicial notice, or allegations that are merely conclusory, unwarranted
deductions of fact, or unreasonable inferences.” Daniels—Hall v. Nat’! Educ. Ass’n, 629 F.3d 992,
998 (9th Cir.2010).

Plaintiff alleges that the claims giving rise to this action resulted from an overnight stay at

a hotel in Las Vegas Nevada in “early” February is flatly contradicted by her text messages. The

' The causes of action against Defendant Wood is time-barred and will be the subject of a motion to dismiss for failure
to state a claim under Federal Rule of Civil Procedure 12(b)(6).

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GOODMAN LAW GROUP
A Professional Corporation
520 S. Fourth St, 2™ FL.
Las Vegas, Nevada 89101

(702) 383-5088

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text messages describing the overnight stay occurred on January 19-20, 2018. Nonetheless,
Plaintiff deliberately changed the date from the known mid-January timeframe to “early” February
to avoid the obvious problem that the Complaint filed on January 31, 2020 was right inside of the
statute of limitation expiring resulting in a baseless and frivolous filing.

The text messages clearly show that the parties engaged in consensual contact on January

20, 2018. Plaintiff's counsel should have undertaken a reasonable inquiry to determine these

claims were time-barred by the two-year statute of limitations. See Cervantes Orchards &
Vineyards, LLC v. Deere & Co., 731 F. App’x 570, 573 (9th Cir. 2017) (affirming district court’s
imposition of Rule 11 sanctions and noting that claims were frivolous where they “were plainly
barred by applicable statutes of limitations.”). Here, it cannot be disputed that the Complaint is
not well grounded in fact and was made without reasonable and competent inquiry prior to filing.

Under the circumstances, this Court should find Plaintiff's filing of this Complaint was
frivolous and filed for an improper purpose of harassing and embarrassing Defendant, thus
warranting sanctions against Plaintiff and her firm jointly. See G.C. & K.B. Investments, 326 F.3d
at 1109 (“a district court may impose Rule 11 sanctions if a paper filed with the court is for an
improper purpose, or if it is frivolous’); Fed. R. Civ. P. I1(c)(1) (‘Absent exceptional
circumstances, a law firm must be held jointly responsible for a violation committed by its partner,

associate, or employee.”).

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GOODMAN LAW GROUP
A Professional Corporation
520 S. Fourth St., 2" Fl
Las Vegas, Nevada 89101

(702) 383-5088

be 2:20-cv-00818-JAD-NJK Document 16-4 Filed 06/03/20 Page 15 of 30

IV.
CONCLUSION
Based on the foregoing, Defendant requests the Court enter an order of sanctions against
Plaintiff and her firm and award reasonable attorney’s fees, costs and expenses incurred in filing

this motion.

Dated this _ day of May 2020.
Respectfully submitted,

GOODMAN LAW GROUP, P.C.

/s/ Ross C. Goodman, Esq.
ROSS C. GOODMAN, ESQ.
Nevada Bar No. 7722
520 S. Fourth Street, Second Floor
Las Vegas, Nevada 89101

Attorney for Defendant
BENJAMIN WOOD

CERTIFICATE OF SERVICE

I hereby certify that on the day of May 2020 I electronically filed the above and
foregoing Defendant’s Motion for Rule 11 Sanctions using the CM/ECF system which will send

notice of electronic filing to all CM/EFC registrants.

/s/ Tiffanie Johannes
Employee of Goodman Law Group, P.C.

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Exhibit 1

Exhibit |

Case 2:20-cv-00818-JAD-NJK Document 16-4 Filed 06/03/20 Page 17 of 30
bd 4 4 40% @ 14:12

Nicole Greene

Qo:
So
+1 805-345-6064

oo-44. !™M ere, cnecking in egy

& Okay, I'm gonna start heading
down to the lobby 00:46

?
no-ag DOWN... Where are you? ©&

& Still in the parking garage 00:47

K. I'm heading to room 1736. &
I'm gonna change. Meet me
9-49. there instead

Okay, I'm on my way up 00:53

Did you have fun last night? ©
Super cool seeing you

| wish Id had time to walk you
11:07 to your Car...

& Aww, you're so sweet. Yeah,
| always have a great time
hanging out

with you. | wish we could
take things further, but I'll
see what |

fp) | ace cnera C5)
Cc’ <a (S
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i MGS il 39% G 14:12
v Nicole Greene Qo:
~ +1 805-345-6064 Ss
see Wildl |

can do about it & 11191

Friday, February. 292018 = eee ee

& Hey, how's it going? ,,..,

1317 Good, your @&
Pretty good. Just getting
ready for work 43:29

Do you even want to be

friends with me? Or are you

just using me until a better

girl comes along? 14:07

e &

I'm at work right now, but @
where did that come from?

?
44-16 Do you feel used?

& Alright, well I'm not going
to bother you at work. But

yes, | do 14:27

Ok, then | sincerely apologize &

Em et ee ee De me o Land ah. wk wee
Case 2:20-cv-00818-JAD-NJK Document 16-4 Filed 06/03/20 Page 19 of 30

fal ME il 39% @ 14:12
vy Nicole Greene Q :
» 47 805-345-6064 sO
se€e wilal |

can do about it & 1794

Friday, February 2,2018 — ——

i ladeceare aA
& Hey, how's it going? 1916

13:17 Good, you? &

é F,  Pretty good. Just getting
ready for work 13:22

& Do you even want to be
friends with me? Or are you

just using me until a better
girl comes along? 14:07

I'm at work right now, but @
where did that come from?

9
1446 D0 you feel used?

: & Alright, well I'm not going
to bother you at work. But
yes, | do 14:27

Ok, then | sincerely apologize &

Cama Aes 6 cee ol Bh Se ees
Case _2:20-cv-00818-JAD-NJK Document 16-4 Filed 06/03/20 Page 20 of 30
Leal 48" al 39% G 14:13

Nicole Greene Q :
+1 805-345-6064 ~”

Ok, then | sincerely apologize &
for making you feel that way.
| think what you are looking
for is not the same as what |
14:33 . am looking for.

& What is it that you’re
looking for? 14:34

| am now interested in @
friendship. Or if you'd rather
14.49 avoid mel understand

‘ é, _, No,! don't want to avoid you. |
want friendship too 15:15

~ Thursday, February 8, 2018 -——— ae

& Hey, sorry | got upset the
other day. | really hope you're

doing well. How's your sister
and her baby? 14:38

No worries. My sisteris great
44.49 and very happy being amom

& That's good to hear. So | went
to an OBGYN this morning
thinking | would get some an-
Case.2:20-cv-00818-JAD-NJK Document 16-4 Filed 06/03/20 Page 21 of 30
42° ul 39% 14:13

Nicole Greene
+1 805-345-6064

& That's good to hear. So | went
to an OBGYN this morning
thinking | would get some an-
swers, but he said everything
seemed normal. So now I’m
really discouraged & 14:46

”y »
Wa. .
tet! a

1534 Normalisgood @&

& Yeah, that’s true. But | was
hoping he could give me
answers as to why you and |
keep having problems 15:38

& Putting it bluntly, my hymen
is already torn 15:40

& If you want to try again,
? maybe we can use alcohol 19:50

Nicole, | want to remain ®
99:39 . just friends.

Benjamin, you've told

me multiple times that

you've slept with girls you
considered “just friends” 20-31

re ae a sunday, February C208 en a ae ee
Case 2:20-cv-00818-JAD-NJK Document 16-4 Filed 06/03/20 Page 22 of 30

“tl 39% 14:13

Nicole Greene 0

+] 805-345-6064 So
consigered just inlenus 90:31

s
=
s

Sunday, February 11, 2018

& Correct me if I’m wrong, but |
feel like you're upset because

| accused you of using me
and I'm really, really sorry
because | feel like | ruined
everything. | just want you to
understand things from my
perspective. You were my
first everything, so naturally,
| wanted more than just
friendship. And

) VIEW ALL

11:07

| think that's a pretty accurate &
Sa assessment. | was a bit put

os off by the whole thing, but |
91-28 amneither angry nor upset.

After reflecting on it, | don't &
think the way things were

is good for you at this point

in your life, and maybe

not for me either. You are

an awesome chick, and |

respect you greatly. | think

it's probablv normal and

Vf Fenn # & 1 th dew Oe Ade J
aH
Case_2:20-cv-00818-JAD-NJK Document 16-4 Filed 96/03/20 oo 23 of 30

Ge all 39% 14:13

v Nicole Greene Qo:
“>
+1 805-345-6064

ff

Sun, Feb 11, 2018 11:07

Correct me if I’m wrong, but | feel like you’re
upset because | accused you of using me and
I'm really, really sorry because | feel like | ruined
~~ everything. | just want you to understand things
from my perspective. You were my first everything,
~-so naturally, | wanted more than just friendship.
And when you told me that night in Las Vegas that
you didn't feel the same way, | was disappointed
and upset. But I've come to terms with how you
feel and | really want things to go back to normal
~~ because | don't like the way things are right now.
| totally understand that you don't want to be ina
relationship and | respect that. | just can’t handle
you being upset with me and not responding to me
because you are so special to me.
Case 2:20-cv-00818-JAD-NJK Document 16-4 Filed 06/03/20 Page 24 of 30

i cd

Nicole Greene
+1 805-345-6064

UULTIY yUUul VaLALIVIT:

HE" il 38% Gl 14:17

ff
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+e &

22:04

Hanging out with the woman ©

99-96 and some friends

728 eT AURSGBY, GUNG 20/20 BD: i ee.

| didn't think I'd have to tell
you this, but | feel the need to
say it because | finally have
enough courage to stand

up for myself. The past few
months, my mental health
has been in a really bad
place. | have been suffering
from anxiety, depression, and
suicidal thoughts. I'm not
trying to assign

”» VIEW ALL e

For the longest time, | felt

so guilty, because once you
realized we werent going

to be able to have sex, you
started distancing yourself
from me and | felt like a
failure. Keep in mind, I'm 13
years younger than you and
this was my first time in any
sort of "relationship" like this.

I bnaws | mada

©)
Case_2:20-cv-00818-JAD-NJK Document 16-4 Filed 06/03/20 Page 25 of 30
TE ll 38% G 14:17

v Nicole Greene Q
"+1 805-345-6064 :

Thu, Jun 28, 2018 13:40

| didn't think I'd have to tell you this, but | fee!
the need to say it because | finally have enough
~ courage to stand up for myself. The past few
months, my mental health has been in a really bad
place. | have been suffering from anxiety, depres-
~~=-sion,and-suicidal thoughts. I'm not trying to assign
blame, but | know for a fact that this situation has
- alot to do with it. | felt ashamed that we weren't
able to have sex because | felt like that was all you
~ever wanted and | was letting you down. | felt even
more ashamed for developing feelings for you. | did
everything | could to try to make this right, includ-
ing going to a gynecologist, going on birth control,
and encouraging you to get tested for STDs.
Case 2:20-cv-00818-JAD-NJK Document 16-4 Filed 06/03/20 Page 26 of 30

Exhibit 2

Exhibit 2

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